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                                                                     Monday, 15 July, 2019 12:55:02 PM
                                                                         Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )         Crim. No. 17-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
       Defendant.                          )

                   PENALTY PHASE OFFER OF PROOF
      REGARDING TESTIMONY AND RECORDS OF PEGGY PEARSON, M.D.

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Offer of Proof Regarding Testimony and Records excluded from

the penalty phase of his trial, states as follows:

       1.     By oral order in open court on July 11, 2019, the Court excluded from the

penalty phase of Mr. Christensen’s trial the testimony and records of Dr. Peggy

Pearson, a psychiatrist at the University of Illinois McKinley Health Center who treated

Mr. Christensen from February 4, 2016, through February 16, 2017. The basis for the

ruling was that defense counsel failed to disclose Dr. Pearson as a witness to the

government under Fed. R. Crim. P. 12.2(b).1


1
 Defense counsel did disclose Dr. Pearson’s records to the government in full on March
14, 2019, almost three months before the penalty phase began. Dr. Pearson’s name was
also included on our witness list which was provided to the government on May 28,
2019, and her name was included on the witness list that was read to the first panel of
prospective jurors as part of voir dire on June 3, 2019. Further, the government stated in
open court on July 11th that it was ready to conduct an hours-long cross examination of
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         2.     Had she been permitted, it is expected that Dr. Pearson would have

testified as follows:

                A.      She is a staff psychiatrist at the McKinley Health Center of the

         University of Illinois – Urbana-Champaign. In that capacity she evaluates and

         treats students who present to the Health Center with concerns that may be

         psychiatric in nature.

                B.      She received her undergraduate degree, a Bachelor of Arts, from

         Harvard College. She received her M.D. degree from the University of Cincinnati

         College of Medicine. She thereafter completed a residency in Adult Psychiatry at

         the Harvard University Beth Israel Hospital. She is board-certified by the

         American Board of Psychiatry and Neurology. She is a licensed physician in the

         State of Illinois.

                C.      In her capacity as a staff psychiatrist at the McKinley Health

         Center, she provided mental health treatment to Brendt Christensen from

         February 4, 2016, through May 22, 2017. Attachment 1 is a true and accurate copy

         of the records of her treatment of Mr. Christensen.2

                D.      She first saw Brendt Christensen at the McKinley Health Center on

         February 4, 2016. He was referred to her by Alex Brandt, APN, of the McKinley




Dr. Pearson using the DSM-5 as well as to present its own expert witness to rebut her
testimony, and so the government suffered no prejudice from the nature and timing of
the disclosure.

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    Counsel would then have moved to admit those records into evidence.
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Medical Clinic after he came to that clinic on January 21, 2016, reported that he

had been feeling depressed for two years and asked that he receive tests of his

thyroid function. Thyroid function tests were given and the results were

negative. Mr. Christensen was therefore referred to the McKinley Mental Health

Clinic and Dr. Pearson saw him on February 4, 2016.

      E.     During his initial evaluation, Brendt told her that both his wife and

his Ph.D. advisor had suggested to him that he seek mental health services. He

reported that he had been depressed for almost two years, beginning in the

Summer of 2014. He had previously tried to manage his symptoms himself by

reducing his alcohol consumption, exercising more, improving his diet and

reducing the amount of time he spent playing competitive videogames.

However, he reported that his symptoms persisted.

      F.     The depressive symptoms that Brendt reported to her were: Sad

mood; low motivation; slightly decreased appetite; low energy; poor memory;

poor concentration; and a decreased interest in sexual activity over the preceding

two years. She observed that Brendt’s affect was mildly depressed, meaning that

his appearance and emotional reactivity looked to her to be slightly depressed.

Brendt reported that he felt depressed. He said he had occasional thoughts of

suicide but would never act on those thoughts. He had no thoughts of harming

others.

      G.     Brendt also reported symptoms of anxiety to her. He stated that he

was having episodes in which his mind was racing and he felt pressure in his

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chest. He reported that these episodes occurred a few times a week and impaired

his ability to do his work. He also stated that at times he wakes up in the middle

of the night feeling anxious and with a pounding heart. He stated that these

episodes lasted 10-15 minutes and had been occurring since age 14.

       H.     She asked Brendt whether he was experiencing stress in his life and

responded that his graduate program was stressful for him and he felt like he

was making slow progress. He stated that he had asked his advisor to allow him

some extra time to recover from his mental health difficulties. Brendt also

reported that his stress level was increased by his concern regarding a wrist

injury he received in 2008 as the result of a workplace accident.

       I.     She asked Brendt some questions regarding his family history. She

did so as a method of assessing the adequacy of his network of social support.

Brendt reported that he had two siblings, an older brother and a younger sister,

but he was not close to either one. He stated that his brother was now in Asia

and his sister was reportedly living in a van in the Pacific Northwest. Brendt

stated that his parents divorced in 2013 and that he was in contact only with his

mother who he described as an active alcoholic. He had been married for several

years and his wife was working as a loan officer at Busey Bank. He reported no

relationship distress.

       J.     Brendt reported that he was currently drinking about six beers once

per month. He admitted to drinking more heavily the previous year, 2015, which



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resulted in weight gain, depression and difficulty functioning at work. He denied

recreational drug use.

      K.     At the conclusion of her evaluation I diagnosed Brendt with

Persistent Depressive Disorder with symptoms of anxiety. She asked him if he

would like to try medication to treat that disorder and he concurred. She

prescribed a medication called sertraline which is a generic version of a drug

with the brand name Zoloft. Sertraline is a medication used to treat symptoms of

depression and anxiety. She instructed Brendt to start taking 25mg per day, and

after a week to increase the dose to 50mg per day. She also reviewed with him

the common side effects of the medication and asked him to come back and see

her in two weeks.

      L.     Two weeks later, on February 18, 2016, Brendt came to see her for

the second time. He had increased is dose of sertraline from 20mg to 50mg as

directed. Brendt reported that there had been no improvement in his significant

symptoms of depression and he continued to be anxious. She instructed him to

increase his dose of sertraline to 75mg and asked him to return in two weeks.

      M.     Brendt came in to see me again on March 3, 2016, two weeks later.

He reported that he had had one episode of alcohol ingestion since his last

appointment and was getting enough sleep. His affect appeared to be bright. She

made no changes to his medication following that visit.

      N.     Brendt’s next appointment with her was on April 22, 2016. After

talking with him she felt that his symptoms were possibly slightly improved.

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However, his mood continued to be slightly depressed and his energy level was

somewhat low. Brendt reported that his progress at his lab was still slow and

that he had made mistakes in his work. He also told her that he and his wife

were now discussing divorce after five years of marriage. She noted that he was

under significant stress. She instructed Brendt to increase his sertraline dose from

75mg per day to 100mg per day and to come back to see her in six to eight weeks.

       O.     Brendt came back to see her for the fifth time on June 7, 2016. On

that occasion he reported that his mood had improved and his anxiety had also

improved but he had begun to have problems sleeping. He stated that he was

waking up in the middle of the night and having difficulty falling back asleep.

He reported that his marriage situation had improved. He had decided to accept

a master’s degree instead of continuing to pursue a Ph.D. and he appeared

relieved. She prescribed him trazodone 50mg to take in addition to the sertraline.

Trazodone is an antidepressant medication that is frequently used as a sleep aid.

       P.     When she next saw Brendt, on July 21, 2016, he was still having

problems sleeping. He reported early insomnia every other night and waking up

at 1:00am every night. His total sleep time was between five and seven hours per

night. He stated that he tried taking trazodone but it left him feeling sedated in

the morning. She therefore discontinued him on trazodone and prescribed

zolpidem 5mg as needed instead. Zolpidem is a generic medication used as a

sleep aid. The brand name of the drug is Ambien. She instructed Brendt not to



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consume any alcohol on days that he took a dose of zolpidem and asked him to

return for another appointment in two months’ time.

      Q.     She next saw Brendt on September 26, 2016, and he was doing

significantly worse than he had been in the preceding months. He reported that

he had been more depressed for over a month, with poor motivation and poor

concentration. She noted that his affect looked depressed. Brendt also stated that

he had been doing the bare minimum at school and was suffering stress around

the prospect of trying to find a job. He reported that he had been drinking

heavily until approximately a week before she saw him and noted that once he

started drinking on any given day it was hard for him to stop. She decided to try

a different antidepressant medication in the hope of better controlling his

symptoms. She discontinued the sertraline and prescribed venlafaxine instead.

Venlafaxine is also a generic drug; its brand name is Effexor. She instructed

Brendt to start taking 37.5mg of enlafaxine each day, then after a week to

increase the dose to 75mg a day and after another week to increase the dose

again to 112.5mg per day. She also continued to prescribe zolpidem. At that time

Brendt reported that he was taking it approximately half the nights.

      R.     On November 22, 2016, Brendt came back for his eighth

appointment with her. Her diagnosis of him was still Persistent Depressive

Disorder with anxious distress, but she also added “rule out Alcohol Use

Disorder.” This notation indicated that she suspected Alcohol Use Disorder

might be present but needed further observation of Brendt before she could

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make a final determination. Brendt told her that he had been drinking up to

750ml of liquor daily until three weeks prior to his appointment. He noted that

his wife did not like it when he drank. He described his mood as “okay” and his

energy as “okay,” but he was still having sleep disturbance. He reported sleeping

five to six hours a day with early and min-insomnia. He had run out of

zolpidem.

       S.     Brendt next came back to see her on January 19, 2017. He described

his mood as good at that time. She noted that his depressive symptoms were

under reasonable control with the venlafaxine and the zolpidem, although he

had increased his use of zolpidem to two out of every three nights. He was also

still having bouts of problem drinking. He said he had only drank on two or

three occasions during the preceding two months and had not had any alcohol

for two weeks, but when he did drink he drank a half to two-thirds of a bottle of

liquor in one sitting. He also told her that he drank alone and that his drinking

made it difficult for him to function the next day. She referred Brendt to the

Alcohol and Other Drug Program to get help with developing strategies to avoid

binge drinking. The Alcohol and Other Drug Program is a university service

located within the University Counseling Center.

       T.     The last time she saw Brendt was a month later, on February 16,

2017. On that date She had him complete a Mental Health Unit Visit

Questionnaire in which he was asked if he had been bothered by certain

problems over the preceding two weeks. One item was “feeling nervous, anxious

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or on edge.” Brendt reported that had been bothered by that nearly every day.

Another item was “feeling down, depressed or hopeless.” Brendt reported that

he had experienced that on several days during the preceding two weeks. Brendt

reported that he had increased his use of zolpidem again and was now taking it

almost every night. He described his sleep as okay and his mood as also just

okay. He again reported feeling stress in connection with his school program and

his job search. He reported that he had not been drinking. She adjusted her

diagnosis to Unspecified Depressive Disorder. She kept him on the same

medications and asked him to come back to see me in two to three months. She

did not see him again. Her prescriptions of venlafaxine and zolpidem remained

in effect and Brendt last refilled both medications on May 22, 2017.

      U.     If a patient of hers stated to a counselor at the Counseling Center

that he was having thoughts of suicide; that if he did it he would not simply

make a gesture and expect to be rescued; he would do it in a manner that made

sure he would die before he was found; that the manner he had thought about to

accomplish this was inhaling concentrated nitrogen gas; that his wife had told

him three days previously that she wanted to leave him and that he could not see

any reason to live without her; she would want to be notified. She would expect

that the counselor would seek the student’s permission to share that information

with her and then to provide her with that information. If she received such

information about one of her patients she would explore it in depth with them.

She would also carefully monitor the patient’s medication compliance, consider

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whether an adjustment in the medication regimen needed to be made and assess

whether a referral to a specialized treatment provider was warranted.

      V.     She would also want to be notified if a patient of hers told a

counselor at the Counseling Center that he had been ruminating about

committing a murder; that he had developed a fascination with serial killers; that

he thought he knew how to commit such a crime and did not think it would be

hard; that he had gotten pretty far along in planning to commit murder; and that

he had purchased items to use to transport and dispose of a body. If she received

such information about one of her patients she would again explore it in depth

with them. She would also carefully consider whether an adjustment in the

medication regimen needed to be made and whether a referral to a specialized

treatment provider was warranted.

      Respectfully submitted,

      /s/Elisabeth R. Pollock                   /s/ George Taseff
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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 15, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.


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